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5                 IN THE UNITED STATES DISTRICT COURT FOR THE

6                        EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,         )       No. CR-F-94-5011 OWW
                                       )
9                                      )       MEMORANDUM DECISION AND
                                       )       ORDER DENYING PETITIONER'S
10                     Plaintiff/      )       MOTION FOR MODIFICATION OF
                       Respondent,     )       SENTENCE PURSUANT TO 18
11                                     )       U.S.C. § 3582(c)(2)
                 vs.                   )
12                                     )
                                       )
13   ROBERT GONZALES,                  )
                                       )
14                                     )
                       Defendant/      )
15                     Petitioner.     )
                                       )
16                                     )

17        On August 18, 2008, Petitioner Robert Gonzales filed a

18   motion for modification of sentence pursuant to 18 U.S.C. §

19   3582(c)(2), (Doc. 614), based on retroactive application of

20   Amendment 591 to the United States Sentencing Guidelines.

21        The United States has filed an opposition to Petitioner’s

22   motion and Petitioner has filed a reply.        All briefing is now

23   complete.

24        There is no dispute that Amendment 591 is retroactive and

25   that Petitioner may seek a reduction of sentence pursuant to

26   Section 3582(c) based on retroactive application of Amendment

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1    591.1

2            Prior to Amendment 591, §1B1.1(a) of the Sentencing

3    Guidelines provided:

4                    (a) Determine the applicable offense
                     guideline section from Chapter Two. See
5                    §1B1.2 (Applicable Guidelines). The
                     Statutory Index (Appendix A) provides a
6                    listing to assist in this determination.

7    §1B1.2(a) provided:

8                    Determine the offense guideline in Chapter
                     Two (Offense Conduct) most applicable to the
9                    offense of conviction (i.e., the offense
                     conduct charged in the count of the
10                   indictment or information of which the
                     defendant was convicted). Provided, however,
11                   in the case of a plea agreement (written or
                     made orally on the record) containing a
12                   stipulation that specifically establishes a
                     more serious offense than the offense of
13                   conviction, determine the offense guideline
                     section in Chapter Two most applicable to the
14                   stipulated offense.

15

16           1
                 18 U.S.C. § 3582(c)(2) provides in pertinent part:
17                   (c) Modification of an imposed term of
                     imprisonment. - The court may not modify a
18                   term of imprisonment once it has been imposed
                     except that -
19
                     ...
20
                     (2) in the case of a defendant who has been
21                   sentenced to a term of imprisonment based on a
                     sentencing range that has been subsequently
22                   lowered by the Sentencing Commission pursuant
                     to 28 U.S.C. 994(o), upon motion of the
23                   defendant ..., the court may reduce the term
                     of imprisonment, after considering the factors
24                   set forth in section 3553(a) to the extent
                     that they are applicable, if such a reduction
25                   is   consistent    with    applicable   policy
                     statements    issued    by    the   Sentencing
26                   Commission.

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1         Effective November 1, 2000, pursuant to Amendment 591, these

2    Sentencing Guidelines sections were amended:

3              Section 1B1.1 is amended by striking
               subsection (a) in its entirety and inserting:
4
                     ‘(a) Determine, pursuant to §1B1.2
5                    (Applicable Guidelines), the
                     offense guideline section from
6                    Chapter Two (Offense Conduct)
                     applicable to the offense of
7                    conviction. See §1B1.2.’

8              Section 1B1.2(a) is amended by striking
               ‘most’ each place it appears; by striking
9              ‘Provided, however’ and inserting ‘However’;
               and by adding at the end the following:
10
                     ‘Refer to the Statutory Index
11                   (Appendix A) to determine the
                     Chapter Two offense guideline,
12                   referenced in the Statutory Index
                     for the offense of conviction. If
13                   the offense involved a conspiracy,
                     attempt, or solicitation, refer to
14                   §2X1.1 (Attempt, Solicitation, or
                     Conspiracy) as well as the
15                   guideline referenced in the
                     Statutory Index for the substantive
16                   offense. For statutory provisions
                     not listed in the Statutory Index,
17                   use the most analogous guideline.
                     See §2X5.1 (Other Offenses). The
18                   guidelines do not apply to any
                     count of conviction that is a Class
19                   B or C misdemeanor or an
                     infraction. See §1B1.9 (Class B or
20                   C Misdemeanors and Infractions).’

21   Amendment 591 sets forth the “Reason for Amendment:”

22             This amendment addresses a circuit conflict
               regarding whether the enhanced penalties in
23             §2D1.2 (Drug Offenses Occurring Near
               Protected Locations or Involving Underage or
24             Pregnant Individuals) apply only in a case in
               which the defendant was convicted of an
25             offense referenced to that guideline or,
               alternatively, in any case in which the
26             defendant’s relevant conduct included drug

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1              sales in a protected location or involving a
               protected individual ....
2
               In promulgating this amendment, the
3              Commission also was aware of case law that
               raises a similar issue regarding selection of
4              a Chapter Two (Offense Conduct) guideline,
               different from that referenced in the
5              Statutory Index (Appendix A), based on
               factors other than the conduct charged in the
6              offense of conviction ....

7              The amendment modifies §§1B1.1(a), 1B1.2(a),
               and the Statutory Index’s introductory
8              commentary to clarify the inter-relationship
               among these provisions. The clarification is
9              intended to emphasize that the sentencing
               court must apply the offense guideline
10             referenced in the Statutory Index for the
               statute of conviction unless the case falls
11             within the limited ‘stipulation’ exception
               set forth in §1B1.2(a).   Therefore, in order
12             for the enhanced penalties in §2D1.2 to
               apply, the defendant must be convicted of an
13             offense referenced to §2D1.2, rather than
               simply have engaged in conduct described by
14             that guideline. Furthermore, the amendment
               deletes Application Note 3 of §1B1.2
15             (Applicable Guidelines), which provided that
               in many instances it would be appropriate for
16             the court to consider the actual conduct of
               the offender, even if such conduct did not
17             constitute an element of the offense. This
               application note describes a consideration
18             that is more appropriate when applying §1B1.3
               (Relevant Conduct), and its current placement
19             in §1B1.2 apparently has caused confusion in
               applying that guideline’s principles to
20             determine the offense conduct guideline in
               Chapter Two most appropriate for the offense
21             of conviction. In particular, the note has
               been used by some courts to permit a court to
22             decline to use the offense guideline
               referenced in the Statutory Index in cases
23             that were allegedly ‘untypical’ or ‘outside
               the heartland.’ ....
24
          Petitioner argues that, pursuant to Amendment 591, the
25
     District Court was required to “utilize 2X1.1 before determining
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1    Petitioner’s Chapter Two Offense Guideline range, as well as his

2    substantive offense, which determines the base offense level.”

3    Petitioner contends that, “before the court can determine the

4    Chapter Two offense guideline section applicable to the § 846

5    Conspiracy, the court must first refer to §2X1.1 to determine the

6    ‘Substantive’ offense of conviction.”

7         USSG §2X1.1 pertains to “Attempt, Solicitation, or

8    Conspiracy (Not Covered by a Specific Offense Guideline)” and

9    provides:

10               (a) Base Offense Level: The base offense
                 level from the guideline for the substantive
11               offense, plus any adjustment from such
                 guideline for intended offense conduct that
12               can be established with reasonable certainty.

13   Petitioner refers to Application Note 2 to §2X1.1:

14               ‘Substantive offense’ as used in this
                 guideline, means the offense that the
15               defendant was convicted of soliciting,
                 attempting, or conspiring to commit. Under §
16               2X1.1(a), the base offense level will be the
                 same as that for the substantive offense.
17               But the only specific offense characteristics
                 from the guideline for the substantive
18               offense that apply are those that are
                 determined to have been specifically intended
19               or actually occurred. Speculative specific
                 offense characteristics will not be applied.
20               For example, if two defendants are arrested
                 during the conspiratorial stage of planning
21               an armed bank robbery, the offense level
                 ordinarily would not include aggravating
22               factors regarding possible injury to others,
                 hostage taking, discharge of a weapon, or
23               obtaining a large sum of money, because such
                 factors would be speculative. The offense
24               level would simply reflect the level
                 applicable to robbery of a financial
25               institution, with the enhancement for
                 possession of a weapon. If it was
26               established that the defendants actually

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1                intended to physically restrain the teller,
                 the specific offense characteristic for
2                physical restraint would be added. In an
                 attempted theft, the value of the items that
3                the defendant attempted to steal would be
                 considered.
4
          Petitioner argues that the application of Amendment 591 to
5
     §1B1.2(a) means that the “most serious substantive crime that
6
     Petitioner conspired to commit and did commit, was a violation of
7
     §841(a)(1)” and that, therefore, Petitioner stands convicted of a
8
     non-punishable offense.”
9
          Petitioner’s contentions are without legal merit.
10
     Petitioner’s base offense level was determined under §2D1.1.
11
     Application Note 1 to §2X1.1 explains that certain attempts,
12
     conspiracies, and solicitations are covered by other offense
13
     guidelines and states that offense guidelines that expressly
14
     cover conspiracies include §2D1.1.       Because Petitioner’s offense
15
     was covered by a specific offense guideline, §2X1.1 does not
16
     apply and provides no basis for modification of Petitioner’s
17
     sentence.    See United States v. Smith, 2004 WL 259228 (6th Cir.),
18
     cert. denied, 541 U.S. 1082 (2004); United States v. Augarten,
19
     2003 WL 23095537 (6th Cir.2003), cert. denied, 541 U.S. 1004
20
     (2004); United States v. Shipp, 2002 WL 1732603 (7th Cir.2002).
21
          Petitioner contends that the jury’s verdict “was ambiguous
22
     as to which statutory penalty to apply to the §846 conspiracy
23
     conviction,” that “an element of the crime of conspiracy under
24
     §846 is that the conspiracy must be to commit an offense under
25
     the Drug Abuse Prevention and Control subchapter” and that “[i]f
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1    the jury finds no such object of the conspiracy, there is no

2    crime”, and that “the quantity of the controlled substance was

3    neither found by a jury or proved beyond a reasonable doubt.”

4    Petitioner further argues that “under Amendment 591 the

5    sentencing court cannot use factual findings to alter his Offense

6    Guideline Section under 2D1.1, this finding must be based on

7    Petitioner’s (Offense of Conviction).”        In his reply brief,

8    Petitioner contends that, because the Indictment did not specify

9    the amount of controlled substances, Petitioner’s offense of

10   conviction must be determined under 21 U.S.C. § 841(b)1)(C),

11   which will modify his Base Offense Level to 12, reducing his

12   guideline sentencing range to 27 to 33 months incarceration.

13         None of these arguments pertain to Amendment 591.          Although

14   not specified by Petitioner, these arguments are based on

15   Apprendi v. New Jersey.      However, Apprendi does not affect

16   guideline ranges and does not afford relief under Section 3582.

17   See United States v. Marshall, 2002 WL 554448 (9th Cir.2002).

18         For the reasons stated, Petitioner’s motion for modification

19   of sentence pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.

20         IT IS SO ORDERED.

21   Dated:   December 22, 2008             /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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